     Case 1:21-mc-03181-UAD Document 1 Filed 11/05/21 Page 1 of 1 PageID #: 1

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Suite E121                                  DMITRY LAPIN, ESQ.                                     Floor 2
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                                                                              November 3. 202
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   VIA PRIORITY MAIL                                                                        FILED
   Clerk of Court                                                                        ,N CLERK'S OFFICE
   ^ilikuiv.uuii                   ^    ^                                           U.S. DISTRICT COURT E.D.N.Y.
   District Court. Eastern District of New York
   225 Cadman Plaza East,                                                           *     NOV 0 5 2021        *
   Brooklyn, New York 11201
                                                                                     BROOKLYN OFFICE
   Re:       In Re: DMCA Subpoena to Etsv. Inc.
             Jon Q. Wright, request for issuance of Subpoena Duces Tecum, pursuant to 17. U.S.C.
             512(h)

   To the Clerk of Court,

          On behalf of my client, Jon Q. Wright, I respectfully request that the Clerk issue a subpoena
   pursuant to 17 U.S.C. 512(h). By way of background, Section 512(h) of the Digital Millennium
   Copyright Act provides that a "copyright owner or a person authorized to act on the owner's
   behalf may request the clerk of any United States District Court to issue a subpoena to a service
   provider for identification of an alleged infringer in accordance with" 17 U.S.C. 512(h)(1). For a
   subpoena to be issued. Section 512(h) requires that a copyright owner file the following with the
   Clerk:
             1) a proposed subpoena,
             2) the statutorily required declaration to the effect that the purpose for which the subpoena
             is sought is to obtain the identity of an alleged infringer and that such information will only
             be used for the purpose of protecting rights under this title, and
             3) copies of the DMCA takedown notifications sent to Etsy, Inc.

           Accordingly, enclosed please find the aforementioned documents, the accompanying
   exhibits, as well as the appropriate filing fee for this matter.

                                                                    Sincerely,




                                                                    Dmitry Lapin, Esq.
   enclosures

            Admitted in New York, New Jersey, Maine, and Pennsylvania


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